      Case 1:99-cr-10371-DJC Document 682 Filed 06/24/12 Page 1 of 7



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                 )
UNITED STATES OF AMERICA         )
                                 )
V.                               )            Crim. No. 99-10371-RGS
                                 )
JAMES J. BULGER                  )
                                 )



                  DEFENDANT’S MOTION FOR DISCOVERY


                            I. Introduction

     The defendant, James Bulger, requests that this Court order

the government to provide all pleadings, depositions, and trial

transcripts in fifteen related civil cases, as well as any other

civil cases that relate to James Bulger, and any other trial in

which the prosecution witnesses have testified on matters that

are relevant to the defendant.1 In addition, the defendant moves

that the court direct the prosecution to provide Jencks material

to the defendant, as the prosecution already has offered to do

at various status hearings.

     The defendant is not seeking material that has already been

provided in discovery.



1
  A list of the fifteen related civil cases is submitted as
Appendix 1. The United States was a party in each of those
cases. The defendant seeks the other material only if it is in
the custody of the United States.


                                     1
      Case 1:99-cr-10371-DJC Document 682 Filed 06/24/12 Page 2 of 7



     As grounds for this motion, the defendant states the

following:

                               II. Facts

     As defense counsel has brought to the Court’s attention on

many occasions, the discovery provided by the government was in

a state of complete disarray. It has taken months of diligent

effort to process the documents and prepare an inventory of what

was produced, an effort that is ongoing and that is expected to

take until May, 2013. See Defendant’s Motion to Reschedule Trial

Date. For example, defense counsel has located in the discovery

thus far some transcripts from the McIntyre v. United States

trial. Counsel has yet to determine, however, if the McIntyre

pleadings, depositions, and transcripts have been produced in

their entirety.

     In the Status Report submitted on May 24, 2012, defense

counsel informed the Court that “[t]here are several outstanding

discovery requests to the government. They include all trial and

plea transcripts that the government possesses in related cases

that have not previously been provided.” The government

responded in its Status Report dated May 29, 2012 that “the

government will produce all trial and plea transcripts which it

possesses that pertain to its anticipated trial witnesses;

however, the government is not obligated to produce all the




                                    2
      Case 1:99-cr-10371-DJC Document 682 Filed 06/24/12 Page 3 of 7



public transcripts of every witness and/or hearing in the

numerous trials that may have referenced defendant Bulger.”

     The government has stated on more than one occasion during

hearings before this Court that it is willing to assist the

defense regarding discovery and indicated that one way would be

by providing early disclosures of Jencks material. The defendant

hereby moves that the Court order that Jencks material be

provided at the earliest opportunity to the defendant.

                   III. Rules Governing Discovery

     Rule 16 of the Federal Rules of Criminal Procedure provides

in pertinent part:

     Upon a defendant's request, the government must permit
     the defendant to inspect and to copy or photograph
     books, papers, documents, data, photographs, tangible
     objects, buildings or places, or copies or portions of
     any of these items, if the item is within the
     government's possession, custody, or control and: (i)
     the item is material to preparing the defense; (ii)
     the government intends to use the item in its case-in-
     chief at trial. . .

Fed. R. Crim. P. 16(a)(1)(E). Local Rule 116.1 provides that the

government must supply the defendant with all of the information

he is entitled to under Rule 16. However, the Court may allow

discovery beyond that required in Rule 16 at its discretion.

United States v. Concemi, 957 F.2d 942, 949 (1st Cir. 1992)

(“The scope of discovery is within the discretion of the

district court.”) (citations omitted).




                                    3
      Case 1:99-cr-10371-DJC Document 682 Filed 06/24/12 Page 4 of 7



     The Jencks Act requires the government to disclose to the

defense “any prior statements of government witnesses that

relate to the subject matter of the witnesses’ testimony.”

United States v. Rosario-Peralta, 175 F.3d 48, 53 (1st Cir.

1999) (citing 18 U.S.C. § 3500(b)). Statements which must be

disclosed under the Jencks Act are either:

     (1) a written statement made, adopted, or approved by
     the witness; (2) a recording (or transcription
     thereof) that is a substantially verbatim recital of
     an oral statement made by the witness and recorded
     contemporaneously with the making of the oral
     statement; or (3) a statement (or transcription
     thereof) made by the witness to a grand jury.

Id. (citing 18 U.S.C. § 3500(e)). A Jencks Act statement is not

required to be exculpatory; any statement by a government

witness meeting one of the three criteria above must be provided

to the defense. See id.

                             IV. Argument

     The defendant has consistently encountered, at best, time-

consuming delays, and at worst, complete restrictions, in its

quest to acquire pleadings and transcripts from other trials

related to this case. These attempts have been costly both in

terms of attorney and paralegal time and the expense of

requesting these documents from the relevant courts and archives

in the event they are accessible.

     These pleadings, depositions, and transcripts in which the

government was a party are within the government’s possession,


                                    4
      Case 1:99-cr-10371-DJC Document 682 Filed 06/24/12 Page 5 of 7



custody, or control, as required by Rule 16. Further, they are

material to preparing the defense – they include the statements

of important witnesses the defense anticipates the government

will call to testify at trial, including law enforcement

personnel and cooperating witnesses. Defense counsel must

acquire and review all of these documents before trial in order

to provide effective assistance.

     The Supreme Court emphasized precedent allowing for

enhanced discovery in Dennis v. United States when addressing a

defendant’s request for grand jury testimony. The Court

commented that “[t]hese developments are entirely consonant with

the growing realization that disclosure, rather than

suppression, of relevant materials ordinarily promotes the

proper administration of criminal justice.” Dennis v. United

States, 384 U.S. 855, 871 (1966).

     In United States v. George, a prosecution related to the

Iran-Contra incident, the defendant sought the pleadings from

two prior prosecutions related to the same matter. 786 F. Supp.

11, 15-17 (D.D.C. 1991). The pleadings at issue were not

publicly available, as they concerned national security matters.

The government opposed the defense’s request; however, the court

ordered the government to produce the documents. Id. The court

noted that the order to produce the pleadings would save the

defense vast amounts of time, as it would “. . . expedite the


                                    5
      Case 1:99-cr-10371-DJC Document 682 Filed 06/24/12 Page 6 of 7



litigation by ensuring that the defendant and his counsel will

be able to spend their time sifting through the thousands of

pages of documents rather than briefing and arguing innumerable

discovery requests. Defendant has five years of catching up to

do and he ought to get started.” Id. at 16. Here, obtaining this

information from the government would likewise save defense

counsel significant time by not having to continue to catalog

and inventory the discovery before drafting individual discovery

requests related to these transcripts and documents, and would

eliminate the need to prepare motions to unseal specific

pleadings and transcripts. Access to the requested documents

would also allow the defense to anticipate issues that are

likely to arise in this litigation.

                             V. Conclusion

     The defendant’s request for materials from related trials

and for Jencks material is reasonable and necessary to ensure

him a meaningful opportunity to contest the charges against him.

The defendant therefore moves that this Court order the

government to provide:

     1.   All pleadings, depositions, and trial transcripts in

the sixteen related civil cases, as well as any other civil

cases that relate to James Bulger, and any other trial in which

the prosecution witnesses have testified in matters that are

relevant to the defendant.


                                    6
       Case 1:99-cr-10371-DJC Document 682 Filed 06/24/12 Page 7 of 7



      2.    Jencks material.

      3.    Such other discovery that will permit the defendant to

be prepared for trial of this case.


                                          JAMES J. BULGER
                                          By His Attorneys,

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June 24, 2012


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                                          /s/ J. W. Carney, Jr.
                                          J. W. Carney, Jr.




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